                                                                                          Entered on Docket
                                                                                         June 12, 2019
                                                                                          EDWARD J. EMMONS, CLERK
                                                                                          U.S. BANKRUPTCY COURT
                                                                                          NORTHERN DISTRICT OF CALIFORNIA

                                               5REHUW$-XOLDQ 6%1 
                                                &HFLO\$'XPDV 6%1           Signed and Filed: June 12, 2019
                                               %$.(5 +267(7/(5//3
                                                %DWWHU\6WUHHW6XLWH
                                               6DQ)UDQFLVFR&$
                                                7HOHSKRQH
                                               )DFVLPLOH         ________________________________________
                                                (PDLOUMXOLDQ#EDNHUODZFRP           DENNIS MONTALI
                                                                                       U.S. Bankruptcy Judge
                                               (PDLOFGXPDV#EDNHUODZFRP
                                                
                                               (ULF(6DJHUPDQ 6%1 
                                                /DXUHQ7$WWDUG 6%1 
                                               %$.(5 +267(7/(5//3
                                                :LOVKLUH%OYG6XLWH
                                               /RV$QJHOHV&$
                                                7HOHSKRQH
                                               )DFVLPLOH
                                                (PDLOHVDJHUPDQ#EDNHUODZFRP
                                              (PDLOODWWDUG#EDNHUODZFRP
                                                
                                              Counsel for Official Committee of Tort Claimants
B AKER & H OSTETLER LLP




                                                                         81,7('67$7(6%$1.5837&<&2857
   A TTORNEYS AT L A W
                          SAN FRANCISCO




                                                                         1257+(51',675,&72)&$/,)251,$

                                                                               6$1)5$1&,6&2',9,6,21

                                              ,QUH                                            %DQNUXSWF\&DVH
                                                                                                  1R '0 
                                              3* (&25325$7,21                                  
                                                                                                  &KDSWHU
                                                     DQG                                       /HDG&DVH 
                                                                                                    -RLQWO\$GPLQLVWHUHG 
                                              3$&,),&*$6$1'(/(&75,&                          
                                                &203$1<                                          25'(5*5$17,1*7+((;3$57(
                                                                'HEWRUV                      $33/,&$7,212)7+(2)),&,$/
                                                                                                   &200,77((2)7257&/$,0$176
                                              Ƒ$IIHFWV3* (&RUSRUDWLRQ                      38568$1772)('(5$/58/(2)
                                                                                                   %$1.5837&<352&('85()25
                                              Ƒ$IIHFWV3DFLILF*DVDQG(OHFWULF&RPSDQ\       25'(56$87+25,=,1*
                                                                                                   352'8&7,212)'2&80(176
                                              Ŷ$IIHFWVERWK'HEWRUV                           
                                                                                                   
                                              *All papers shall be filed in the Lead Case,
                                                No. 19-30088 (DM)
                                              
                                                       
                                           

                                                     7KH&RXUWKDYLQJUHYLHZHGWKH([3DUWH$SSOLFDWLRQRIWKH2IILFLDO&RPPLWWHHRI7RUW

                                              &ODLPDQWV3XUVXDQWWR%DQNUXSWF\5XOHIRU2UGHUV$XWKRUL]LQJ3URGXFWLRQRI'RFXPHQWV

                                              ILOHGRQ0D\DQGDIWHUGXHGHOLEHUDWLRQDQGVXIILFLHQWFDXVHDSSHDULQJWKHUHIRU

                                                                                              
                                                
                                          Case: 19-30088
                                                            Doc# 2504       Filed: 06/12/19    Entered: 06/12/19 15:59:07        Page 1 of
                                                                                          2
                                                


                                                      ,7,6+(5(%<25'(5('7+$7
                                                           7KH$SSOLFDWLRQLVJUDQWHGDVSURYLGHGKHUHLQ
                                                           7KH'HEWRUVDUHGLUHFWHGWRSURGXFHWRWKH7&&WKHIROORZLQJGRFXPHQWVDQG
                                               LQIRUPDWLRQZLWKRXWVHUYLFHRIDVXESRHQDILIWHHQ  GD\VIURPHQWU\RIWKLV2UGHU
                                                            D &RPSOHWHFRSLHVRIDOOLQVXUDQFHSROLFLHV LQFOXGLQJDQ\DQGDOOGHFODUDWLRQV
                                                               GHILQLWLRQVH[KLELWVHQGRUVHPHQWVULGHUVH[FOXVLRQVDQGDPHQGPHQWV WKDWKDYH
                                                               SURYLGHGRUPD\SURYLGHFRYHUDJHIRUDQ\FODLPDJDLQVWWKH'HEWRUVDULVLQJIURP
                                                               RUFRQFHUQLQJWKH1RUWKHUQ&DOLIRUQLD:LOGILUHV³1RUWKHUQ&DOLIRUQLD:LOGILUHV´
                                                               VKDOOKDYHWKHVDPHPHDQLQJDVXVHGE\WKH'HEWRUVLQWKH%DU'DWH0RWLRQ>'NW
                                                              @SS
                                                           E &RPSOHWHFRSLHVRIDOOLQVXUDQFHSROLFLHV LQFOXGLQJDQ\DQGDOOGHFODUDWLRQV
B AKER & H OSTETLER LLP




                                                              GHILQLWLRQVH[KLELWVHQGRUVHPHQWVULGHUVH[FOXVLRQVDQGDPHQGPHQWV WKDWKDYH
   A TTORNEYS AT L A W
                          SAN FRANCISCO




                                                                    SURYLGHGRUPD\SURYLGHFRYHUDJHIRUDQ\FODLPDJDLQVWWKH'HEWRUVDULVLQJ
                                                              IURPRUFRQFHUQLQJWKH*KRVW6KLS)LUH³*KRVW6KLS)LUH´VKDOOPHDQWKHILUH
                                                              WKDWRFFXUUHGRQ'HFHPEHUDWWKHEXLOGLQJNQRZQDVWKH³*KRVW6KLS´
                                                              ORFDWHGDWVW$YHQXHLQWKH&LW\RI2DNODQG&RXQW\RI$ODPHGD6WDWHRI
                                                              &DOLIRUQLD
                                              
                                                                                       (1'2)25'(5         
                                                     
                                                     
                                           

                                           

                                           

                                           

                                           

                                           

                                           

                                                                                                
                                                
                                          Case: 19-30088
                                                             Doc# 2504        Filed: 06/12/19    Entered: 06/12/19 15:59:07      Page 2 of
                                                                                            2
